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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


IN RE: PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE                                MDL No. 1456
LITIGATION                                             Master File No.: 01-CV-12257-PBS
                                                       Subcategory Case No. 07-12141-PBS

 THIS DOCUMENT RELATES TO:                             Judge Patti B. Saris

 State of Iowa v. Abbott Laboratories, et al.




               JOINT MOTION TO MODIFY CERTAIN PRE-TRIAL DATES


        1.         Paragraph 12 of the Case Management Order dated January 22, 2009 (the

“CMO”), which CMO was based upon a joint motion of the parties, established the following

pre-trial dates:

                   A.     All fact discovery is to be completed by April 1, 2010;

                   B.     Plaintiff’s expert reports and other materials in compliance with Fed. R.

Civ. P 26(a)(2)(B) are currently due by June 1, 2010,

                   C.     Defendants’ expert reports and other materials in compliance with Fed. R.

Civ. P 26(a)(2)(B) are currently due by August 1, 2010; and

                   D.     All expert depositions are currently to be completed by September 1,

2010.


        2.         Under the CMO, all remaining pre-trial deadlines will be set at a pre-trial status

conference.
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       3.      The parties have been diligently pursuing fact discovery in this matter, consistent

with the obligations of the parties and their counsel in connection with other matters, including

other “AWP” litigation before this Court and in various state courts throughout the country.


       4.      Based upon the state of the fact discovery record in this case, the parties agree that

a ninety (90) day extension of all of the presently established pre-trial deadlines would further

the just, speedy, and inexpensive determination of this action.


       5.      To that end, all fact discovery would be completed by July 1, 2010.


       6.      The parties shall use their best efforts to serve any remaining written discovery by

April 30, 2010. No written discovery may be served after April 30, 2010 unless it is justified by

particular circumstances demonstrating that despite the serving party’s best efforts, such

discovery could not reasonably have been served prior to that date.


       7.      Plaintiff shall serve all expert reports and other materials in compliance with Fed.

R. Civ. P. 26(a)(2)(B) by September 15, 2010.


       8.      Defendants shall serve all expert reports and other materials in compliance with

Fed. R. Civ. P. 26(a)(2)(B) by November 15, 2010.


       9.      All expert depositions shall be completed by December 15, 2010.




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       WHEREFORE, the parties jointly move this Court to modify the established pre-trial

dates to those shown above and on the attached proposed Case Management Order No. ___.



 Dated March 5, 2010                         _/s/ Jocelyn Normand_____________
                                             Jocelyn R. Normand
                                             KIRBY McINERNEY LLP
                                             825 Third Avenue, 16th Floor
                                             New York, NY 10022
                                             (212) 371-6600 ext. 263
                                             jnormand@kmllp.com

                                             Counsel for the State of Iowa

                                             _/s/ J.P. Ellison_____________
                                             J.P. Ellison
                                             HYMAN, PHELPS, & MCNAMARA, P.C.
                                             700 Thirteenth Street NW
                                             Suite 1200
                                             Washington DC 20005
                                             (202)-737-4294
                                             jellison@hpm.com

                                             Counsel for Defendant Purepac Pharmaceutical
                                             Co. (in his capacity as liaison counsel for the
                                             Defendants).




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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on the 5th day of March, 2010, she

caused a true and correct copy of the foregoing Joint Motion to Modify Certain Pre-Trial Dates

to be delivered to counsel of record for defendants by electronic service pursuant to Case

Management Order No. 2 entered by the Honorable Patti B. Saris in MDL No. 1456.


                                                  /s/ Jocelyn R. Normand
                                                  Jocelyn R. Normand
                                                  Kirby McInerney LLP
                                                  825 Third Avenue, 16th Floor
                                                  New York, NY 10022
                                                  (212) 371-6600




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